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                                          UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF DELAWARE


       In re: FLO-PRO INC.                                   §      Case No. 13-11501- BLS
                                                             §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              George L. Miller, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $6,090,820.00                           Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $772,162.03              Claims Discharged
                                                                   Without Payment: N/A


      Total Expenses of Administration:    $58,919.92




                3) Total gross receipts of $831,081.95 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $0.00 (see Exhibit 2), yielded net receipts of $831,081.95 from the liquidation of the property of the
      estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                $131,688,055.52       $59,065,580.66          $163,818.76          $163,818.76
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00           $58,919.92           $58,919.92           $58,919.92


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00           $23,121.24                $0.00                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                           $10,325,293.00          $950,128.48       $32,817,431.69          $608,343.27


   TOTAL DISBURSEMENTS                       $142,013,348.52       $60,097,750.30       $33,040,170.37          $831,081.95




                 4) This case was originally filed under chapter 7 on 06/10/2013. The case was pending for 74
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        08/05/2019                        By: /s/ George L. Miller
                                                                           Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                      $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                   RECEIVED

 Scheduled Administrative Cost Reimbursement                                                    1229-000                       $7,054.54

 Machinery, fixtures, equipment and supplies                                                    1229-000                       $8,000.00

 Refunds - Verizon Wireless                                                                     1229-000                           $2.37

 TAX REFUND - STATE OF NH - 2012                                                                1124-000                      $34,505.64

 RECOVERY FROM CLAIMS AGAINST MPA AND D&O                                                       1249-000                     $628,515.40

 TAX REFUND -BUSINESS ENTERPRISE TAX - STATE OF NEW                                             1224-000                     $153,004.00
 HAMPSHIRE

                             TOTAL GROSS RECEIPTS                                                                            $831,081.95

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM             $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE              PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                   UNIFORM        CLAIMS
   Claim                                                           CLAIMS           CLAIMS          CLAIMS
             CLAIMANT               TRAN.       SCHEDULED
    NO.                                                           ASSERTED         ALLOWED           PAID
                                    CODE      (from Form 6D)


     1      WELLS FARGO            4210-000          $1,176.50        $1,176.50       $1,176.50     $1,176.50
            EQUIPMENT
            FINANCE
    13A     M&T BANK               4210-000     $59,026,879.02   $59,064,404.16     $162,642.26   $162,642.26

     15     M&T BANK               4210-000             $0.00            $0.00            $0.00         $0.00

     17     M&T BANK               4210-000             $0.00            $0.00            $0.00         $0.00

     20     M&T BANK               4210-000             $0.00            $0.00            $0.00         $0.00

    N/F     Motorcar Parts of      4210-000     $52,631,380.00              NA              NA            NA
            America, Inc.
    N/F     NMHG Financial         4210-000                NA               NA              NA            NA
            Services, Inc.
    N/F     Wanxiang America       4210-000     $20,028,620.00              NA              NA            NA
            Corporation

              TOTAL SECURED                   $131,688,055.52    $59,065,580.66     $163,818.76   $163,818.76




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM      CLAIMS             CLAIMS              CLAIMS              CLAIMS
   PAYEE                               TRAN.     SCHEDULED           ASSERTED            ALLOWED               PAID
                                       CODE

 Trustee, Fees - George L. Miller     2100-000              NA         $24,908.19         $24,908.19         $24,908.19

 Trustee, Expenses - George L.        2200-000              NA               $12.70           $12.70               $12.70
 Miller
 Accountant for Trustee, Fees -       3310-000              NA         $29,440.50         $29,440.50         $29,440.50
 Miller Coffey Tate LLP
 Accountant for Trustee, Expenses -   3320-000              NA               $90.20           $90.20               $90.20
 Miller Coffey Tate LLP
 Bond Payments - International        2300-000              NA              $509.37          $509.37              $509.37
 Sureties LTD
 Banking and Technology Service       2600-000              NA             $2,444.86        $2,444.86         $2,444.86
 Fee - Rabobank, N.A.
 Banking and Technology Service       2600-000              NA              $747.05          $747.05              $747.05
 Fee - Union Bank
 Other Chapter 7 Administrative       2990-000              NA              $162.50          $162.50              $162.50
 Expenses - CSC
 Other Chapter 7 Administrative       2990-000              NA              $595.00          $595.00              $595.00
 Expenses - RLD Transportation
 Other Chapter 7 Administrative       2990-000              NA                $9.55              $9.55              $9.55
 Expenses - USPS
 TOTAL CHAPTER 7 ADMIN. FEES
                                                            NA         $58,919.92         $58,919.92         $58,919.92
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                              UNIFORM          CLAIMS            CLAIMS            CLAIMS                CLAIMS
         PAYEE
                             TRAN. CODE      SCHEDULED          ASSERTED          ALLOWED                 PAID

                                                         None




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 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                    CLAIMS
                                   UNIFORM        CLAIMS
                                                                   ASSERTED              CLAIMS      CLAIMS
 CLAIM NO.         CLAIMANT         TRAN.      SCHEDULED
                                                                (from Proofs of         ALLOWED       PAID
                                    CODE      (from Form 6E)
                                                                     Claim)

     2       DAVID A. CRUST, Jr.   5300-000             $0.00              $0.00             $0.00      $0.00


     4       Mary A. Hopfer        5300-000             $0.00          $2,428.25             $0.00      $0.00


     5       Kelly L. Glozzer      5300-000             $0.00          $2,458.60             $0.00      $0.00


     6       Kristi M. Shuford     5300-000             $0.00          $2,393.68             $0.00      $0.00


     7       BCE NEXXIA            5200-000             $0.00              $0.00             $0.00      $0.00
             CORPORATION

     8       BELL CANADA           5200-000             $0.00          $5,809.24             $0.00      $0.00


     10      ROBIN E WIRTH         5300-000             $0.00          $2,373.00             $0.00      $0.00


     11      JASON LEWIS           5300-000             $0.00              $0.00             $0.00      $0.00


     21      DANIEL J.             5300-000             $0.00          $2,416.87             $0.00      $0.00
             BARTHOLOMEW

     22      DAVID A CAMP          5300-000             $0.00          $2,379.30             $0.00      $0.00


     23      CLAIR A TROUTMAN      5300-000             $0.00          $2,862.30             $0.00      $0.00


           TOTAL PRIORITY
          UNSECURED CLAIMS                              $0.00         $23,121.24             $0.00      $0.00




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                    CLAIMS
                                   UNIFORM        CLAIMS
                                                                   ASSERTED              CLAIMS         CLAIMS
 CLAIM NO.        CLAIMANT          TRAN.      SCHEDULED
                                                                (from Proofs of         ALLOWED          PAID
                                    CODE      (from Form 6F)
                                                                     Claim)

     3       BEARINGS 2000         7100-000             $0.00              $0.00               $0.00         $0.00
             SALES CO

     9       HAINING AUTOMANN      7100-000             $0.00              $0.00               $0.00         $0.00
             PARTS CO.,LTD

     12      M&T BANK              7100-000             $0.00              $0.00               $0.00         $0.00


    13B      M&T BANK              7100-000             $0.00              $0.00      $31,884,294.12   $591,045.92


     14      M&T BANK              7100-000             $0.00        $712,000.00         $699,267.48    $12,962.16


     16      M&T BANK              7100-000             $0.00              $0.00               $0.00         $0.00


     18      M&T BANK              7100-000             $0.00              $0.00               $0.00         $0.00


     19      M&T BANK              7100-000             $0.00        $238,128.48         $233,870.09     $4,335.19


    N/F      Fenwick               7100-000    $10,102,304.00                NA                  NA            NA


    N/F      Rafko Enterprise      7100-000       $222,989.00                NA                  NA            NA


            TOTAL GENERAL
           UNSECURED CLAIMS                    $10,325,293.00        $950,128.48      $32,817,431.69   $608,343.27




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                                                                 Form 1
                                                                                                                                                        Exhibit 8
                                             Individual Estate Property Record and Report                                                               Page: 1

                                                              Asset Cases
Case No.:    13-11501- BLS                                                                  Trustee Name:      (280160) George L. Miller
Case Name:         FLO-PRO INC.                                                             Date Filed (f) or Converted (c): 06/10/2013 (f)
                                                                                            § 341(a) Meeting Date:       07/17/2013
For Period Ending:          08/05/2019                                                      Claims Bar Date:      11/04/2013

                                        1                             2                    3                      4                    5                     6

                            Asset Description                      Petition/       Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                 (Scheduled And Unscheduled (u) Property)        Unscheduled      (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                    Values               Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                 Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                            and Other Costs)

    1       TAX REFUND - STATE OF NH - 2012                         34,505.64                  34,505.64                              34,505.64                           FA

    2       BANK ACCOUNT - M&T ACCT #8537                                 0.00                      0.00                                    0.00                          FA

    3       BANK ACCOUNT - M&T ACCT #8503                                 0.00                      0.00                                    0.00                          FA

    4       INTERCOMPANY RECEIVABLE - MPA                          306,101.00               306,101.00                                      0.00                          FA
            Resolved as part of the Global Settlement with MPA
            dated 11/16/2016 [D.I. 281]. See asset #9.

    5       INTERCOMPANY RECEIVABLE -                             5,784,719.00                      0.00                                    0.00                          FA
            INTROCAN
            No distribution from Introcan to this Debtor is
            anticipated by the Trustee.

    6       Refunds - Verizon Wireless (u)                                2.37                      2.37                                    2.37                          FA

    7       TAX REFUND -BUSINESS                                   153,004.00               153,004.00                             153,004.00                             FA
            ENTERPRISE TAX - STATE OF NEW
            HAMPSHIRE (u)

    8       Machinery, fixtures, equipment and                        8,000.00                  8,000.00                               8,000.00                           FA
            supplies (u)
            Drexel Forklift SLT30

    9       RECOVERY FROM CLAIMS AGAINST                           628,515.40               628,515.40                             628,515.40                             FA
            MPA AND D&O (u)

   10       Scheduled Administrative Cost                             7,054.54                  7,054.54                               7,054.54                           FA
            Reimbursement (u)

   10       Assets Totals (Excluding unknown values)             $6,921,901.95           $1,137,182.95                           $831,081.95                        $0.00



 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 08/31/2016                        Current Projected Date Of Final Report (TFR):             06/08/2018 (Actual)




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                                                            Form 2                                                                          Exhibit 9
                                                                                                                                            Page: 1
                                            Cash Receipts And Disbursements Record
Case No.:              13-11501- BLS                                 Trustee Name:                     George L. Miller (280160)
Case Name:             FLO-PRO INC.                                  Bank Name:                        UNION BANK
Taxpayer ID #:         **-***8046                                    Account #:                        ******1792 CHECKING
For Period Ending: 08/05/2019                                        Blanket Bond (per case limit): $5,000,000.00
                                                                     Separate Bond (if applicable): N/A
    1          2                        3                                  4                                5                 6                      7

  Trans.    Check or        Paid To / Received From     Description of Transaction         Uniform       Deposit         Disbursement        Account Balance
   Date      Ref. #                                                                       Tran. Code       $                   $

 08/19/13     {1}        STATE OF NEW HAMPSHIRE       2012 TAX REFUND                     1124-000          33,748.79                                    33,748.79

 08/19/13     {1}        STATE OF NEW HAMPSHIRE       2012 TAX REFUND                     1124-000              756.85                                   34,505.64

 09/25/13                Union Bank                   BANK SERVICES FEE (CHK)             2600-000                                  19.85                34,485.79

 10/11/13   600001       FENWICK AUTOMOTIVE           TRANSFER OF FUNDS TO                4210-000                            28,183.72                   6,302.07
                         PRODUCTS LTD                 FENWICK AUTOMOTIVE
                                                      PRODUCTS LTD., BKY. NO. 13-
                                                      11500, FOR AMOUNTS DUE
                                                      M&T BANK FOR TAX REFUNDS
                                                      PURSUANT TO COURT ORDER
                                                      DATED 09/19/13 [D.I. 88]
                                                      (AMOUNTS DUE M&T BANK
                                                      INCLUDED IN WIRE TRANSFER
                                                      OF $126,048.37 ON 10/10/13)

 10/11/13                TRANSFER TO ACCT#            Transfer of Funds                   9999-000                             6,302.07                       0.00
                         XXXXXX1875

 10/25/13                Union Bank                   BANK SERVICES FEE (CHK)             2600-000                                  49.62                   -49.62

 10/28/13                TRANSFER FROM ACCT#          Transfer of Funds to Reimburse      9999-000               59.62                                      10.00
                         XXXXXX1875                   Account for Bank Fees

 11/25/13                Union Bank                   Bank Service Fee under 11 U.S.C.    2600-000                                  21.94                   -11.94
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 11/26/13                TRANSFER FROM ACCT #         Transfer of Funds                   9999-000               11.94                                        0.00
                         XXXXXX1875

 01/22/14     {7}        STATE OF NEW HAMPSHIRE       TAX REFUND - BUSINESS               1224-000         153,004.00                                   153,004.00
                                                      ENTERPRISE TAX FYE 3/31/13

 02/06/14   600002       INTERNATIONAL SURETIES,      2014 Blanket Bond #016026389        2300-000                                 178.31               152,825.69
                         LTD.                         for the Period 01/01/14 to
                                                      01/01/15

 02/06/14                                             WIRE OUT - DISBURSEMENT             4210-000                           134,458.54                  18,367.15
                                                      OF ASSET SALES PURSUANT
                                                      TO COURT ORDER DATED
                                                      09/19/13 [D.I. 88]

 02/07/14                TRANSFER TO ACCT #           Transfer of Funds - Estate          9999-000                            18,367.15                       0.00
                         XXXXXX1875                   Carveout pursuant to Court Order
                                                      dated 09/19/13 [D.I. 88]

 02/25/14                Union Bank                   Bank Service Fee under 11 U.S.C.    2600-000                                  66.02                   -66.02
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 02/28/14                Union Bank                   REFUND OF SERVICE                   2600-000                                 -66.02                     0.00
                                                      CHARGES

 03/25/14                Union Bank                   Bank Service Fee under 11 U.S.C.    2600-000                                  37.62                   -37.62
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 04/01/14                Union Bank                   Bank Service Charge Refund          2600-000                                 -37.62                     0.00

 08/01/14                WELLS FARGO EQUIPMENT        PROCEEDS FROM SALE OF                                  6,056.45                                     6,056.45
                         FINANCE                      MACHINERY AND EQUIPMENT

                         RLD Transportation           Transportation Expense              2990-000                                                        6,056.45

                                                                               -$595.00

                                                                                   Page Subtotals:       $193,637.65       $187,581.20        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                        ! - transaction has not been cleared
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                                                              Form 2                                                                                  Exhibit 9
                                                                                                                                                      Page: 2
                                              Cash Receipts And Disbursements Record
Case No.:                 13-11501- BLS                                      Trustee Name:                    George L. Miller (280160)
Case Name:                FLO-PRO INC.                                       Bank Name:                       UNION BANK
Taxpayer ID #:            **-***8046                                         Account #:                       ******1792 CHECKING
For Period Ending: 08/05/2019                                                Blanket Bond (per case limit): $5,000,000.00
                                                                             Separate Bond (if applicable): N/A
    1             2                       3                                       4                                5                    6                       7

  Trans.       Check or      Paid To / Received From           Description of Transaction         Uniform       Deposit           Disbursement         Account Balance
   Date         Ref. #                                                                           Tran. Code       $                     $

                 {8}      WELLS FARGO EQUIPMENT             Machinery, fixtures, equipment       1229-000                                                           6,056.45
                          FINANCE                           and supplies

                                                                                   $8,000.00

                          WELLS FARGO EQUIPMENT             PROCEEDS FROM SALE OF                4210-000                                                           6,056.45
                          FINANCE                           MACHINERY

                                                                                  -$1,176.50

                          CSC                               Lien Search                          2990-000                                                           6,056.45

                                                                                      -$162.50

                          USPS                              Certified Mail                       2990-000                                                           6,056.45

                                                                                        -$9.55

 01/07/15      600003     INTERNATIONAL SURETIES,           Blanket Bond Payment Bond            2300-000                                    21.41                  6,035.04
                          LTD.                              #016026389 from 01/01/15 to
                                                            01/01/16

 03/09/15                 Global Surety, LLC                Blanket Bond Premium                 2300-000                                    -8.29                  6,043.33
                                                            Adjustment: Bond #016026389
                                                            from 01/01/15 to 01/01/16

 01/06/16      600004     International Sureties LTD        Blanket Bond Payment Bond            2300-000                                     8.68                  6,034.65
                                                            #016026389 from 01/01/16 to
                                                            01/01/17

 12/05/16        {9}      Fenwick Automotive Products       Allocation of the Estate Share of    1249-000         628,515.40                                      634,550.05
                          Limited                           MPA Litigation Settlement
                                                            Proceeds pursuant to Court Order
                                                            dated 11/28/2016 [D.I. 372]

 12/05/16                 TRANSFER FROM ACCT #              Transfer of Funds to close account   9999-000           8,094.19                                      642,644.24
                          XXXXXX1875

 12/05/16      600005     Miller Coffey Tate LLP            7th Fee and Expense Application                                              1,111.30                 641,532.94
                                                            pursuant to Court Order dated
                                                            11/28/16 [D.I. 375]

                                                            Expenses                             3320-000                                                         641,532.94

                                                                                        $1.80

                                                            Fees                                 3310-000                                                         641,532.94

                                                                                   $1,109.50

 01/12/17      600006     International Sureties LTD        Blanket Bond Renewal Bond            2300-000                                   309.26                641,223.68
                                                            #016026389 from 01/01/17 to
                                                            01/01/18

 10/16/17                 DEBTOR'S BANKRUPTCY               TRANSFER OF FUNDS TO                 9999-000                              641,223.68                       0.00
                          ESTATE                            RABOBANK

                                              COLUMN TOTALS                                                       830,247.24           830,247.24                      $0.00
                                                    Less: Bank Transfers/CDs                                        8,165.75           665,892.90
                                              Subtotal                                                            822,081.49           164,354.34
        true
                                                    Less: Payments to Debtors                                                                  0.00

                                              NET Receipts / Disbursements                                       $822,081.49          $164,354.34


                                                                                                                                                        false




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                                           Form 2                                                                         Exhibit 9
                                                                                                                                          Page: 3
                                           Cash Receipts And Disbursements Record
Case No.:              13-11501- BLS                                 Trustee Name:                    George L. Miller (280160)
Case Name:             FLO-PRO INC.                                  Bank Name:                       UNION BANK
Taxpayer ID #:         **-***8046                                    Account #:                       ******1875 CHAPTER 7 CARVEOUT
For Period Ending: 08/05/2019                                        Blanket Bond (per case limit): $5,000,000.00
                                                                     Separate Bond (if applicable): N/A
    1          2                       3                                   4                               5                  6                    7

  Trans.    Check or        Paid To / Received From     Description of Transaction        Uniform       Deposit          Disbursement      Account Balance
   Date      Ref. #                                                                      Tran. Code       $                    $

 10/11/13                TRANSFER FROM ACCT#          Transfer of Funds                  9999-000           6,302.07                                    6,302.07
                         XXXXXX1792

 10/28/13                TRANSFER TO ACCT#            Transfer of Funds to Reimburse     9999-000                                 59.62                 6,242.45
                         XXXXXX1792                   Account for Bank Fees

 11/25/13                Union Bank                   Bank Service Fee under 11 U.S.C.   2600-000                                 15.00                 6,227.45
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 11/26/13                TRANSFER TO ACCT #           Transfer of Funds                  9999-000                                 11.94                 6,215.51
                         XXXXXX1792

 12/23/13     {6}        VERIZON WIRELESS             REFUND OF OVERCHARGE OF            1229-000                 2.37                                  6,217.88
                         DISTRIBUTION                 FEES

 12/26/13                Union Bank                   Bank Service Fee under 11 U.S.C.   2600-000                                 15.00                 6,202.88
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 01/27/14                Union Bank                   Bank Service Fee under 11 U.S.C.   2600-000                                 15.00                 6,187.88
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 02/07/14                TRANSFER FROM ACCT #         Transfer of Funds - Estate         9999-000          18,367.15                                   24,555.03
                         XXXXXX1792                   Carveout pursuant to Court Order
                                                      dated 09/19/13 [D.I. 88]

 02/07/14   601001       MILLER COFFEY TATE LLP       1ST INTERIM FEE AND                                                      8,180.70                16,374.33
                                                      EXPENSE APPLICATION
                                                      PURSUANT TO COURT ORDER
                                                      DATED 12/02/13 [D.I. 109]

                                                      Fees                               3310-000                                                      16,374.33

                                                                            $8,148.00

                                                      Expenses                           3320-000                                                      16,374.33

                                                                               $32.70

 02/25/14                Union Bank                   Bank Service Fee under 11 U.S.C.   2600-000                                 15.00                16,359.33
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 03/25/14                Union Bank                   Bank Service Fee under 11 U.S.C.   2600-000                                 19.05                16,340.28
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 04/25/14                Union Bank                   Bank Service Fee under 11 U.S.C.   2600-000                                 24.31                16,315.97
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 05/27/14                Union Bank                   Bank Service Fee under 11 U.S.C.   2600-000                                 23.50                16,292.47
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 06/25/14                Union Bank                   Bank Service Fee under 11 U.S.C.   2600-000                                 24.24                16,268.23
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 07/25/14                Union Bank                   Bank Service Fee under 11 U.S.C.   2600-000                                 23.43                16,244.80
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 08/25/14   601002       MILLER COFFEY TATE LLP       2ND INTERIM FEE AND                                                      2,035.60                14,209.20
                                                      EXPENSE APPLICATION


                                                                                  Page Subtotals:        $24,671.59         $10,462.39      true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                         ! - transaction has not been cleared
                                      Case 13-11501-BLS              Doc 83             Filed 08/28/19       Page 12 of 17

                                                             Form 2                                                                          Exhibit 9
                                                                                                                                             Page: 4
                                             Cash Receipts And Disbursements Record
Case No.:              13-11501- BLS                                 Trustee Name:                      George L. Miller (280160)
Case Name:             FLO-PRO INC.                                  Bank Name:                         UNION BANK
Taxpayer ID #:         **-***8046                                    Account #:                         ******1875 CHAPTER 7 CARVEOUT
For Period Ending: 08/05/2019                                        Blanket Bond (per case limit): $5,000,000.00
                                                                     Separate Bond (if applicable): N/A
    1          2                         3                                  4                                5                 6                      7

  Trans.    Check or        Paid To / Received From      Description of Transaction         Uniform       Deposit        Disbursement         Account Balance
   Date      Ref. #                                                                        Tran. Code       $                  $

                                                      PURSUANT TO COURT ORDER
                                                      DATED 08/15/14 [D.I. 137]

                                                      Expenses                              3320-000                                                      14,209.20

                                                                                $21.60

                                                      Fees                                  3310-000                                                      14,209.20

                                                                             $2,014.00

 08/25/14                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 24.17                14,185.03
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 09/25/14                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 23.55                14,161.48
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 10/27/14                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 20.40                14,141.08
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 11/25/14                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 21.04                14,120.04
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 12/02/14   601003       Miller Coffey Tate LLP       3rd Interim Fee and Expense                                               1,932.40                  12,187.64
                                                      Application pursuant to Court
                                                      Order dated 12/02/14 [D.I. 149]

                                                      Fees                                  3310-000                                                      12,187.64

                                                                             $1,922.50

                                                      Expenses                              3320-000                                                      12,187.64

                                                                                  $9.90

 12/26/14                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 20.33                12,167.31
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 01/26/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 18.39                12,148.92
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 02/25/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 18.08                12,130.84
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 03/25/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 16.31                12,114.53
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 04/27/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 18.02                12,096.51
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 05/26/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 17.42                12,079.09
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 06/25/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                 17.97                12,061.12
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 07/14/15   601004       Miller Coffey Tate LLP       4th Interim Fee and Expense                                                   614.10                11,447.02

                                                                                    Page Subtotals:              $0.00        $2,762.18        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                         ! - transaction has not been cleared
                                      Case 13-11501-BLS              Doc 83             Filed 08/28/19       Page 13 of 17

                                                             Form 2                                                                         Exhibit 9
                                                                                                                                            Page: 5
                                             Cash Receipts And Disbursements Record
Case No.:              13-11501- BLS                                 Trustee Name:                      George L. Miller (280160)
Case Name:             FLO-PRO INC.                                  Bank Name:                         UNION BANK
Taxpayer ID #:         **-***8046                                    Account #:                         ******1875 CHAPTER 7 CARVEOUT
For Period Ending: 08/05/2019                                        Blanket Bond (per case limit): $5,000,000.00
                                                                     Separate Bond (if applicable): N/A
    1          2                         3                                  4                                5                 6                     7

  Trans.    Check or        Paid To / Received From      Description of Transaction         Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                        Tran. Code       $                  $

                                                      Application pursuant to Court
                                                      Order dated 07/13/15 [D.I. 238]

                                                      Expenses                              3320-000                                                     11,447.02

                                                                                  $0.60

                                                      Fees                                  3310-000                                                     11,447.02

                                                                                $613.50

 07/27/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                17.37                11,429.65
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 08/25/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                17.45                11,412.20
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 09/25/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                16.98                11,395.22
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 10/26/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                16.41                11,378.81
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 11/17/15   601005       Miller Coffey Tate LLP       5th Interim Fee and Expense                                               1,717.90                  9,660.91
                                                      Application pursuant to Court
                                                      Order dated 11/16/15 [D.I. 280]

                                                      Fees                                  3310-000                                                      9,660.91

                                                                             $1,717.00

                                                      Expenses                              3320-000                                                      9,660.91

                                                                                  $0.90

 11/25/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                16.93                 9,643.98
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 12/28/15                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                15.29                 9,628.69
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 01/25/16                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                15.00                 9,613.69
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 02/25/16                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                15.00                 9,598.69
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 03/25/16                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                15.00                 9,583.69
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 04/25/16                Union Bank                   Bank Service Fee under 11 U.S.C.      2600-000                                15.00                 9,568.69
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)

 05/24/16   601006       Miller Coffey Tate LLP       6th Interim Fee and Expense                                               1,369.50                  8,199.19
                                                      Application pursuant to Court
                                                      Order dated 05/24/16 [D.I. 338]

                                                      Fees                                  3310-000                                                      8,199.19

                                                                                   Page Subtotals:               $0.00        $3,247.83       true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                         ! - transaction has not been cleared
                                       Case 13-11501-BLS                Doc 83            Filed 08/28/19         Page 14 of 17

                                                            Form 2                                                                                     Exhibit 9
                                                                                                                                                       Page: 6
                                            Cash Receipts And Disbursements Record
Case No.:                 13-11501- BLS                                  Trustee Name:                      George L. Miller (280160)
Case Name:                FLO-PRO INC.                                   Bank Name:                         UNION BANK
Taxpayer ID #:            **-***8046                                     Account #:                         ******1875 CHAPTER 7 CARVEOUT
For Period Ending: 08/05/2019                                            Blanket Bond (per case limit): $5,000,000.00
                                                                         Separate Bond (if applicable): N/A
    1             2                     3                                       4                                5                      6                        7

  Trans.       Check or      Paid To / Received From         Description of Transaction         Uniform       Deposit             Disbursement          Account Balance
   Date         Ref. #                                                                         Tran. Code       $                       $



                                                                                 $1,368.00

                                                          Expenses                             3320-000                                                              8,199.19

                                                                                     $1.50

 05/25/16                 Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                      15.00                   8,184.19
                                                          § 330(a)(1)(B), 503(b)(1), and
                                                          507(a)(2)

 06/27/16                 Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                      15.00                   8,169.19
                                                          § 330(a)(1)(B), 503(b)(1), and
                                                          507(a)(2)

 07/25/16                 Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                      15.00                   8,154.19
                                                          § 330(a)(1)(B), 503(b)(1), and
                                                          507(a)(2)

 08/25/16                 Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                      15.00                   8,139.19
                                                          § 330(a)(1)(B), 503(b)(1), and
                                                          507(a)(2)

 09/26/16                 Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                      15.00                   8,124.19
                                                          § 330(a)(1)(B), 503(b)(1), and
                                                          507(a)(2)

 10/25/16                 Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                      15.00                   8,109.19
                                                          § 330(a)(1)(B), 503(b)(1), and
                                                          507(a)(2)

 11/25/16                 Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                      15.00                   8,094.19
                                                          § 330(a)(1)(B), 503(b)(1), and
                                                          507(a)(2)

 12/05/16                 TRANSFER TO ACCT #              Transfer of Funds to close account   9999-000                                  8,094.19                        0.00
                          XXXXXX1792

                                            COLUMN TOTALS                                                        24,671.59               24,671.59                      $0.00
                                                  Less: Bank Transfers/CDs                                       24,669.22                  8,165.75
                                            Subtotal                                                                    2.37             16,505.84
        true
                                                  Less: Payments to Debtors                                                                     0.00

                                            NET Receipts / Disbursements                                             $2.37             $16,505.84


                                                                                                                                                         false




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
                                     Case 13-11501-BLS                 Doc 83             Filed 08/28/19        Page 15 of 17

                                                              Form 2                                                                            Exhibit 9
                                                                                                                                                Page: 7
                                              Cash Receipts And Disbursements Record
Case No.:              13-11501- BLS                                   Trustee Name:                       George L. Miller (280160)
Case Name:             FLO-PRO INC.                                    Bank Name:                          Rabobank, N.A.
Taxpayer ID #:         **-***8046                                      Account #:                          ******8666 Checking Account
For Period Ending: 08/05/2019                                          Blanket Bond (per case limit): $5,000,000.00
                                                                       Separate Bond (if applicable): N/A
    1          2                          3                                      4                              5                 6                      7

  Trans.    Check or        Paid To / Received From        Description of Transaction          Uniform       Deposit        Disbursement         Account Balance
   Date      Ref. #                                                                           Tran. Code       $                  $

 10/16/17                DEBTOR'S BANKRUPTCY            TRANSFER OF FUNDS FROM                9999-000         641,223.68                                   641,223.68
                         ESTATE                         UNION BANK

 10/31/17                Rabobank, N.A.                 Bank and Technology Services          2600-000                                 461.15               640,762.53
                                                        Fees

 11/30/17                Rabobank, N.A.                 Bank and Technology Services          2600-000                                 921.64               639,840.89
                                                        Fees

 12/11/17   700001       Miller Coffey Tate LLP         8th Interim fee app pursuant to                                            9,646.70                 630,194.19
                                                        Court Order dated 12/11/2017
                                                        [D.I. 422]

                                                        Fees (8th Interim)                    3310-000                                                      630,194.19

                                                                                 $9,626.50

                                                        Expenses (8th Interim)                3320-000                                                      630,194.19

                                                                                     $20.20

 12/11/17   700002       M&T BANK                       Interim payment of 1.4% pursuant                                         450,000.00                 180,194.19
                                                        to Court Order dated 12/11/17
                                                        [D.I. 421]

                                                        Interim payment of claim #13 -        7100-000                                                      180,194.19
                                                        1.4% pursuant to Court Order
                                                        dated 12/11/17 [D.I. 421]

                                                                             $437,256.82

                                                        Interim payment of claim #14 -        7100-000                                                      180,194.19
                                                        1.4% pursuant to Court Order
                                                        dated 12/11/17 [D.I. 421]

                                                                                 $9,549.39

                                                        Interim payment of claim #19 -        7100-000                                                      180,194.19
                                                        1.4% pursuant to Court Order
                                                        dated 12/11/17 [D.I. 421]

                                                                                 $3,193.79

 12/29/17                Rabobank, N.A.                 Bank and Technology Services          2600-000                                 537.03               179,657.16
                                                        Fees

 01/31/18                Rabobank, N.A.                 Bank and Technology Services          2600-000                                 284.24               179,372.92
                                                        Fees

 02/28/18                Rabobank, N.A.                 Bank and Technology Services          2600-000                                 240.80               179,132.12
                                                        Fees

 04/02/18   700003       Fenwick Automotive Products,   Reimbursement of Trustee              2100-000                            11,529.86                 167,602.26
                         Ltd.                           compensation - Interim
                                                        Distribution to George L. Miller,
                                                        Trustee. Payment to Fenwick
                                                        Automotive from Flo-Pro Inc. for
                                                        Trustee Compensation allowed
                                                        pursuant to Court Order dated
                                                        11/16/15 [D.I. 281], and paid from
                                                        Fenwick on 01/11/16 (check
                                                        #605001)

 04/25/18     {10}       Fenwick Automotive Products    Reimbursement of Scheduled            1229-000           7,054.54                                   174,656.80
                         Limited                        Administrative Costs in
                                                        accordance with Court Order
                                                        dated 07/31/2015 [D.I. 240]

                                                                                       Page Subtotals:       $648,278.22      $473,621.42         true



{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
                                       Case 13-11501-BLS                     Doc 83            Filed 08/28/19        Page 16 of 17

                                                                 Form 2                                                                                Exhibit 9
                                                                                                                                                       Page: 8
                                                 Cash Receipts And Disbursements Record
Case No.:                 13-11501- BLS                                       Trustee Name:                     George L. Miller (280160)
Case Name:                FLO-PRO INC.                                        Bank Name:                        Rabobank, N.A.
Taxpayer ID #:            **-***8046                                          Account #:                        ******8666 Checking Account
For Period Ending: 08/05/2019                                                 Blanket Bond (per case limit): $5,000,000.00
                                                                              Separate Bond (if applicable): N/A
    1             2                          3                                       4                               5                    6                      7

  Trans.       Check or      Paid To / Received From              Description of Transaction        Uniform       Deposit           Disbursement        Account Balance
   Date         Ref. #                                                                             Tran. Code       $                     $

 06/07/19      700004     George L. Miller                     Distribution payment - Claim #FEE   2100-000                               13,378.33                161,278.47
                                                               Dividend paid at 53.71% of
                                                               $24,908.19 pursuant to Court
                                                               Order dated 06/05/2019 [D.I. 78]

 06/07/19      700005     Miller Coffey Tate LLP               Distribution payment - Claim        3320-000                                    1.00                161,277.47
                                                               #MCTEXP Dividend paid at 1.11%
                                                               of $90.20 pursuant to Court Order
                                                               dated 06/05/2019 [D.I. 78]

 06/07/19      700006     Miller Coffey Tate LLP               Distribution payment - Claim        3310-000                                2,921.50                158,355.97
                                                               #MCTFEE Dividend paid at 9.92%
                                                               of $29,440.50 pursuant to Court
                                                               Order dated 06/05/2019 [D.I. 78]

 06/07/19      700007     George L. Miller                     Distribution payment - Claim #TE    2200-000                                   12.70                158,343.27
                                                               Dividend paid at 100.00% of
                                                               $12.70 pursuant to Court Order
                                                               dated 06/05/2019 [D.I. 78]

 06/07/19      700008     M&T BANK                             Distribution payment - Claim #13B   7100-000                              153,789.10                  4,554.17
                                                               Dividend paid at 0.48% of
                                                               $31,884,294.12 pursuant to Court
                                                               Order dated 06/05/2019 [D.I. 78]

 06/07/19      700009     M&T BANK                             Distribution payment - Claim #14    7100-000                                3,412.77                  1,141.40
                                                               Dividend paid at 0.49% of
                                                               $699,267.48 pursuant to Court
                                                               Order dated 06/05/2019 [D.I. 78]

 06/07/19      700010     M&T BANK                             Distribution payment - Claim #19    7100-000                                1,141.40                      0.00
                                                               Dividend paid at 0.49% of
                                                               $233,870.09 pursuant to Court
                                                               Order dated 06/05/2019 [D.I. 78]

                                                 COLUMN TOTALS                                                      648,278.22           648,278.22                     $0.00
                                                       Less: Bank Transfers/CDs                                     641,223.68                  0.00
                                                 Subtotal                                                             7,054.54           648,278.22
        true
                                                       Less: Payments to Debtors                                                                0.00

                                                 NET Receipts / Disbursements                                        $7,054.54          $648,278.22


                                                                                                                                                         false




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
                                  Case 13-11501-BLS            Doc 83          Filed 08/28/19         Page 17 of 17

                                                       Form 2                                                                    Exhibit 9
                                                                                                                                 Page: 9
                                       Cash Receipts And Disbursements Record
Case No.:           13-11501- BLS                              Trustee Name:                    George L. Miller (280160)
Case Name:          FLO-PRO INC.                               Bank Name:                       Rabobank, N.A.
Taxpayer ID #:      **-***8046                                 Account #:                       ******8666 Checking Account
For Period Ending: 08/05/2019                                  Blanket Bond (per case limit): $5,000,000.00
                                                               Separate Bond (if applicable): N/A

                                       Net Receipts:             $829,138.40
                           Plus Gross Adjustments:                 $1,943.55
                         Less Payments to Debtor:                      $0.00
                 Less Other Noncompensable Items:                      $0.00

                                         Net Estate:             $831,081.95




                                                                                                  NET                       ACCOUNT
                                 TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS                  BALANCES
                                 ******1792 CHECKING                             $822,081.49        $164,354.34                     $0.00

                                 ******1875 CHAPTER 7 CARVEOUT                          $2.37               $16,505.84               $0.00

                                 ******8666 Checking Account                        $7,054.54              $648,278.22               $0.00

                                                                                  $829,138.40              $829,138.40               $0.00




UST Form 101-7-TDR (10 /1/2010)
